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                 IN T H E U N ITED STATE S D ISTM CT CO U RT                         JAN I2 2917
                 FO R TH E W E STE RN D IST RICT O F W RG IN IA                JQ . C. D      ,CLERK
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                             R OAN O U D IW SION                                        ,
                                                                                            CLERK

UNITEP STATESOF AM ERICA,                       CASE NO.7:13CR00038-1

                                                M EM O M N D U M O PIN IO N


O SHAY TERM LJON ES,                            By: M ichaelF.U rbansld
             D efendant.                        United StatesDistrictJudge

      DefendantOshayTerrelloneswasfound guiltyfollowingasix-daytrialofconspizacy
to distribute 28 gram sorm ore ofcrack cocaine and w assentenced to 280 m onthsin prison.

H efiledamotion to vacate,setaside,ozcorzecthissentence,under28U.S.C.j2255,raising
m ultiple clnim sofineffectiveassistance ofcounseland courterror.The goveznm ent

respondedandlonesreplied,making tlnismatterripeforadjudicadon.Afterreview ofth'
                                                                              e
recozdand briefs,thecourtconcludesthatloneshasnotraised anymeritoriouscbims.
Accordingly,thecourtwillgranttheUnitedStates'm oéon to disnaissJones'j2255motion
and disrnissJones'j2255m otion.
                                  L BA CKG RO UN D

       On September26,2013,afedezalgrandjurysittingin Roanoke,Virginiacharged
Jonesand fivecodefendantsin aone-countsupersedingindictmentwith conspitacyto
clistributeand possesswith theintentto distribute280 gram sorm ore ofa m ixture or

substancecontainingcrack cocaine,inviolation of21U.S.C.j846.Joneswasappointed
counsel. Therewere som enegotiationsregarding a plea dealbutan agreem entwasnever

reached.
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       Onlanuary21,2014,Jonesand fotzrcodefendantsproceeded to trial.l The
govetnmentatgued thatlones,alongwit.
                                   h hisbtother,DominiqueJones,ran acocaine
tzaffickingconspitacy.Thejurywastaskedwith detetminingwhetherloneswas/1111 of
conspiracy to disttibute crack cocaine;and,ifso,w hethertheconspiracyinvolved 280 grnm s

ormoreofcrackcocineor,in thealternaéve,28gramsozmoreofcrackcocaine.Theju.
                                                                        ry
foundlonesgailtyofthelesserincluded offenseofconspitacyto distdbute28gzamsor
m ote ofcrack coczne.V erdict,ECF N o.272. Probation prepated apresentence

inveségation report(TTSR'')in anticipation ofsentencing.ThePSR recommended atotal
offenselevelof42,which included a two-pointenhancem entforpossession ofa fuearm ,a

two-pointenhancem entfozcom rnitting theoffense aspartofa pattetn ofcrim inalconduct

engaged in asalivelihood,and a four-pointenhancem entfozbeing an organizerorleader.

PSR at!!52,53,55& 60,ECF No.341.ThePSR provided foracriminalllistorycategory
of1,resultingin an imprisonmentrangeof360 to480m onths.1d.at!(108.Trialcounsel
madenumerousobjecéonsto thePSR,including an objecéon tothetwo-levelenhancement
forpossession ofa fuearm and arequestthatthe couztim pose a sentencebased on adrug

weightofbetqreen 28 and 279gêam sofcrack cocainewithoutincreasing theHtnlg weightfoê

relevantfactsfound atsentencing. Id.at26-28.

       Onlune26,2014,thecourtsentencedJonesto 280months'imprisonm ent.
Judgmentat2,ECF No.335.Trialcounselarguedatthesentencinghearing thattheflre/t'm
enhancem entshouldnotbeapplied toJonesbecauseJoneswasneverfoundwith aweapon
and coconspiratorswho possessed weaponswere actually involved in asepatateconspim cy.

           'onecodefendant, JoshuaTyreePoindexter,pleadedguilty andtestified attrialastheprosecution'sm ain
witness.
                                                      2
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Sent.Hr'gTr.at7-8,ECF No.406.In addition,counselatgued thatlonesshould nothave
received aleadezenhancem entbecause the evidence atttialdid notsuppottsuch a fm ding.

J.dsat9.TtialcounselalsoatguedthatthedtugweightatttibutabletoJonesshould not
exceed 279gtamsbecauseajuryhad detetrnined thathewasnotguiltyofconspitacyto
disttibute280gram sorm oreofcrack cocaine. 1d.at22-23. Finally,trialcounselargued

thatthecziminallivelihoodenhancementshould notappiybecauseJoneswasinvolvedin
Tfm aking m oneywith hisrap business':and did notrely on dtug salesforllisentire incom e.

Ldaat32.Thegovernmentresponded thatlones'incomewasderived from Hrllgsalesand
thathehadnotmademoney from musicsales.Thecotu:toverruled theobjecdons,
concluclingthattherewassufhcientevidenceto establish thatloneswaspat'tofaconspizacy
thatinvolved atleast1.4 kilogram sofcrack cocaine,thatthe evidence offttent'
                                                                           m sbelonging

to coconspiratorswassufficientandthatlones'incom ederivedm ainlyfrom dl'
                                                                       ug sales.J.
                                                                                 dz.
at25,37.

      Jonesappealed,cllimingthatthetrialcourterredbyfailingtorequitethejuty to
deterrninedtug quantity,adrnittingaudiorecotdingsofjailhouseconvetsations,ordering
fozfeituzeandimposing an unzeasonablesentence.Urzited Statesv.Jones,622 F.App'x204
(4th Cit.Aug.24,2015).TheFoutth Circtzitafflrmed on a1lclnims.Lt.
                                                                k Jonestimely flled
thisj2255motion,asserting:(1)ttialcounselincorrectlyadvisedhim aboutthejury'srole,
sentencingand drugweight,which ledJonesto rejectapleaoffer;(2)ttialcounselfailed to
objecttothePSR'Sdrugweightdeterminaéon and appellatecounselfailed toappealthe
issue;(3)ttialcounselfailed toobjectto thePSR'Srecommendedgun enhancement;(4)
appellatecounselfailed to arguethatthedistdctcotzrtdid nottesolve disputed issuesoffact


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befozedisnnissingtheobjectionsto theleadership and fueat.m enhancements;(5)appellate
counselfailed to ftleazeplytogovernment'sbrief;and (6)thegovernmentengagedin
prosecutozialrnisconducton appealbyproviding falseinform ation regarding the ctim inal

livelihood enhancem entto thecourtofappeals.

                                     II.D ISCU SSIO N

      To stateaviablecbim fozreliefunderj2255,apeétionermustprove:(1)thathis
sentencewasTfimposedinviolation oftheConstimtion orlawsoftheUnited Statesi''(2)
thatffthecourtwaswithoutjurisdiction toimposesuch asentencei''or(3)thatffthesentence
wasin excessofthemaximum authorized bylaw,orisotherwisesubjectto collatezalattack.''
28U.S.C.j2255($.Jonesbearstheburden ofprovinggzoundsforacollateralattackbya
preponderanceoftheevidence.Millerv.United States,261F.2d 546,547 (4th Cir.1958).
       A . Ineffective A ssistance ofC ounsel

       Ctim inaldefendantshavea 5ixt.h Am endm entdghtto ffzeasonably effective''legal

assistance.Stticklandv.W ashin ton,466U.S.668,687 (1984).In orderto establish thatllis
counsel'sassistancew asnotreasonably effective,adefendantm ustsatisfy a t
                                                                        'wo-prong

analysis:hemustshow bot.hthatcounsel'sperformancefellbelow an objecdvestandardof
reasonablenessandthathewasprejudiced bycounsel'salleged deficientperfotmance.
Strickland,466 U .S.at669. W hen considedng thereasonablenessprong ofStrickland,

courtsapply a Tfstrong presum ption thatcounsel'sconductfallswithin thewiderange of

reasonableprofessionalassistance.''1d.at6899see also Gra v.Branker 529F.3d 220,228-

29 (4th C.
         ir.2008).Counsel'sperformanceisjùdged ffon thefactsoftheparticularcasey':
and assessed f<fl'om counsel'sperspective atthe tim e.'' Id.


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      TosatisfytheprejudiceprongofStrickland,adefendantmustshow thatthereisa
reasonable probability that,butfozcounsel'sunprofessionalerror,the outcom e oftlze

proceeding would havebeen different. 1.
                                      daat694.:TA reasonableprobabilityisaprobability
                                       .




suf:cientto undernaine conftdencein theoutcom e.'? ld.

       (1)ErroneousTrialCounselAdvice
      Jonesarguesthatbistrialcounselgavehim erroneousadviceaboutwhetherajury
could find him gtzilty ofconspitacy ifitconcluded thathew asnotresponsible for280 gram s

ofcrack cocaine,asallegedin theindictment.Heclaimsthatcounseltold him thataju.
                                                                             ry
would have to find llim notg14111 ifitconcluded thathe parécipated in theconspitacybut

waszesponsiblefozlessthan 280gramsofcrack cocaine.Jonesarguesthathadhe
understood thathe could be convicted ofalesser-included offense,hewolzld have accepted

aten-yearpleaagreem entthatthegovernm entoffered,which did notinclude any

enhancem ents.

      Jonesprovided an unsigned ffclraft''affidavitfrom histrialcounsel,noting that
counselbelieved thatthecltnAgweight,wlzichincreasedlones'm andatoryminimum sentence,
hadto befound byajurybeyond areasonabledoubtandthatthecourterzed byconclucling
thatthe am ountofdrugsseized wasin excessof1.4 ldlogêam s. Aff.at2-3,ECF N o.464-1.

Theverdictfotm allowed thejuryto deterrninewhetherloneswasresponsiblefor280grams
or m ore ofcrack cocaine,or the lessez-included offense of28 gram s or m ore of crack

cocaine.Thejuryfoundthelatter.
      Jonesargumentfailsbecausehecannotestablish pzejudice.Fitst,thecourtdidnot
errby taskingthejurywith detet-miningwhetherlonescomrnittedalesser-includedoffense

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tlaan thatptovidedin theindictment.Ifanindictmentchargesaparticulatdtnzgquanéty,ffgaj
defendant...can,iftlaeevidencewarzants,be convicted ofone ofthelesserincluded

offensesbased on asm alleram ountofthe substance''because the lesseroffensewas

includedin thecharged offense.UnitedStatesv.Cabrera-Beltran,660F.3d 742,753(4th
Cir.2011)(internalquotationmarksomitted).Second,Jones'counsel'sunsignedT'dtaft''
affdavitdid notmention anythingaboutcounsel'sadvicetoJonesregatding thejuty'stask
ofdeterm ining guilt,including lesser-included offenses.Accordingly,even ifthatafhdavitis

legitimate,itdoesnotsupportlones'argum entthatcounselerroneouslytoldJonesthata
jutyhad to findhim guiltyoftheentitedt'ugamountoracquithim.Buteven asslzmingthat
counselezzoneouslyadvisedlonesregatdinglesser-included offensesylonescannotshow
thatthezeisareasonable probabilitythathewould havepleaded guilty had he been correctly

advised because thereisno evidence thatthe alleged ten-yearplea dealexisted. The

governm entassertsthatitneveroffered aten-yeardeal. Thegovernm entfound only adraft

agreem entpzoviding fora base offenselevelof41,including variousenhancem ents,w hich

did notprovide fora specihcsentence.PleaAgree.at3, ECF N o.475-6. Even allowing

forathree-levelzeduction foracceptanceofzesponsibility,hadlonesagzeed to theplea,he
would havefaced apotentialadvisorygaidelinerangeof235to 293months.Jonesdoesnot
cbim,in hisj2255,thathewouldhavebeenwilling to takethepleadealthatthe
governm entprovided. Finally,hew assentenced to 28O m onths'incarceradon,w hich falls

within thatpotendaladvisoryrangeofthepleaagreem ent.Accordingly,Jonescannot
establish a ftkelihood ofaresultm ore favorable''to him had he agreed to plead gailty.

Stdckland,466 U .S.at695.


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       (2)FailutetoObjecttoDtugW eight
      JonesalsoarguesthattrialcounselfailedtoobjecttothePSR'Scalculadonofdt'ug
weightand the evidenceon which itrelied and thatappellate counselfailed to appealthe

issue. Tllisis notttue.

      Although thejuryconcluded thatloneswas/1111 ofconspiracyto distributebe> een
28 and 279 gram sofcrack cocaine,thePSR concluded that,based on relevantconduct,

Joneswasresponsiblefordistribution of1.4ldlogramsofczackcoczne.PSR !J45,ECF No.
341. ConttarytoJones'cbim,laisttialcounselvigorouslyopposed theHtnlgweight
calculation. In hissentencing m em orandum ,counselrequested thatthe courtim pose a

sentencebasedon thedrugweightfoundbythejury:between 28and 279g'
                                                              ramsofcrack
cocaine.Again,atsentencing,counselobjectedtothedzugweightattributabletoJonesand
argued thatthe couttshould sentence'
                                   him based on aweightnotto exceed 279 gram s.

However,thecourtovernzledtheobjectionffessentiallyforthezeasonsstatedintheIDSRI.''
Sent.Hr'gTr.at25,ECF N o.406.ltconcluded thatthe::1.4 ldlogram sofcrack cocaine

thatwasseizeddulingthecourseoftlaeconspitacy,thatwasjustseized alone,isreallya
conservative...estim ateoftheam ountofczack cocaineinvolved,and itestablishesa base

offenselevelof34.77 Id.

      Jonesazgtzesthatthecourtincorrectly found that1.4kilogramswereseizedwhen,in
fact,only 267.7 glmm sofcrack cocaineweze seized. ThePSR concluded thatthe conspiracy

involved 1.4 ldlogram sofcrack cocnine based on Tfconttolled buys,searches,and arrests,as

wellastheamounttrialwitnessestesdhed to buyingorseeinp''PSR !J45,ECF No.341.
Jonesfurtlaezatguesthatthesetlialwitnessesweteuntehableandthecouttshouldnothave

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ctedited theittestim ony.Tlnisargum entisunaw iling. First,a defendantconvicted of

conspiracym aybe held accountable foralldrtzgsattributableto allm em bersofthe

conspitacy,ifreasonably fozeseeableto thedefendant.See United Statesv.Randall,171

F.3d 195,210 (4t.h Cit.1999)(notingthat<fthedisttictcourtmayattributeto thedefendant
the totalam ountofdzugsinvolved in the conspitacy,pzovided thedrug quandtieswere

reasonably foreseeable to thedefendantand arewithin the scope ofthe conspitatodal

agreement?);United Statesv.Seserè,413F.App'x653,659 (4th Cir.2011)(unpublished).
Accordingly,even if1.4 ldlogram srepresentsthe am ountofcrack cocaine forwhich the

conspizacyw asresponsible and notthe am ountofdrugsactazally seized,the courtdid noterr

by zelying on thatam ount.ltiswellestablished thatacourtm ay ffapproxim ate thequantity

ofthe conttolled substance''atttibutable to thedefendantusing only ffuncertain witness

estim ates''aslong asitim posesa sentencerfatthe1ow end oftherange'?ofsuch estim ates.

United Statesv.Crawford,734F.3d 339,342 (4t.
                                           h Cir.2013)9U.S.Sentencing Guidelines
M anualj2D 1.1cmt.n.5.Thecourtappliedabaseoffenselevelof34,correspondingto 840
gram sofczack cocaine,an am ountlessthan the 1.4 kilogram sofcrack cocnineforwllich it

found theconspiracy wasresponsible.

      Finally,althoughJonescllim sthatappellatecounselfailed to taisetheHtnpg-weight
issueon appeal,heism istaken.Appellate counselchallenged thereliability ofwitness

testimonyand thedtugweightattributed toJones.TheFourth Cizclzitconcluded,however,
thatloneshad failed to show thattlaedistrictcourtdfzelied onunreliableinformation''and
thattheKfgelvidenceinthezecord saésfiedtherninimum thtesholdto warrantabaseoffense
levelof34.'7United Statesv.Jones,622 F.App'x204,208(4th Cit.2015).Issuesraised and

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decided by theFourth Citcuitm ay notbe revisited on collateralreview. U nited Statesv.

Lindet,552 F.3d391,396 (4th Cir.2009).Accozdingly,Joneshasnotestablished that
ff
 counsel'sreptesentation fellbelow anobjectivestandardofreasonableness.''Strickland,
466 U .S.at688.

       (3)FailuretoObjecttoGunEnhancement
      Next,Jonesarguesthathiscounselerzedbyfailingto objectto thetwo-pointgun
enhancementin thePSR.Thisargumentlacksmeritbecausecounseldid,in fact,objectto
theenhancement.Counselflled an objection to thePSR andatsentencingarpzed thatthat
gun enhancem entshouldnotapplytoJonesbecausehewasneverfoundwith agun arid
coconspiratorsw ho werefound w1t11gunsneeded w eaponsforseparate conspitaciesin

which they wereitw olved.Thecourtdid notczeditthose argum entsand overruled the

objections,finclingthattheevidenceoffrearmsbelongingto coconspiratorswassufhcient
to supporttheenhancement. SeeUnitedStatesv.Iiimberlin,18F.3d 1156,1160(4th Cir.
1994)(concludingthatweaponscarzied byacoconspitatorareatttibutableto thedefendant
when such possession isforeseeableand itisoften foreseeable thatflteat'm possession

accompaniesillegaldrug sales).ln addition,thegun-enhancem entissuewasraised on
appeal,and theFotzrth Circuitconcluded thatthe districtcourthad notezzed in applyingit.

Jones,622 F.App'x at208;Linder,552F.3dat396.Asaresult,lonescannotestablish
de8cientperform ance. Strickland,466 U.S.at687.

       (4)Challen etoLeadershi and FirearmsPossessionEnhancements
      N ext,Jonesclaim sthatappellatecounselerredbyfailingto atguethatthedistrict
courtdid notresolve disputed issuesoffactbefoze applying theleadership and flrearm
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 enhancements.Specifkallyylonesclnimsthatawitnessattrialpresented conflicéng
 testimonyaboutwhetherlonesran thednzgringand thatalthough tdalcounselobjectedto
 theleadezship enhancem entin thePSR atsentencing,the courtneverdirectly addtessed the

 issuebeforeoverrulingit.In addition,lonesatguesthatwithzegard totheftrent.m
 enhancem ent,therewasno evidenceto pzovethathe or anyone.
                                                         in the conspiracypossessed

 aflrearm butthecourtovermledtheobjection withoutadeterrnination on thezecord that
Jonesorothermembersoftheconspitacypossessed fttearms.
       AsJonesacknowledges,appellatecounselargued totlaeFotzrth Circuitthatthe
 disttictcouttshould nothaveapplied the leadership and flrearm senhance'
                                                                       m ents. Op.Brief

 at44-47,ECF No.475-4.ConttarytoJones'cbims,appellatecounselrelied onthedisputed
 issuesoffactto m akeitsargum ent. Appellatecounselatgued thatthedistrictcourthad not

 m adefindingsaboutthe leadership enhancem enton the recozd,m etely relying on the

 reasoning setf0:th in thePSR. 1d.at46. ln addition,appellatecounselnoted,with regard

 to the flreatm senhancem ent,thatTftherecitation oftheinfozm ation in the''PSR was

 erroneous.Id.at44.TheFouzth Citcuitconsidered and rejected thesecllims,findingTfno
 proceduralerror.''Jones,622 F.App'xat208.BecausetheCourtofAppealsconsideted
 and addtessedtheseclaim sylones'ineffectiveassistanceofcoupselclnim fails.Linder,552
 F.3d at396.

       (5)FailutetoRe l to GovernmentRes onseBriefon A eal
       Jonesassertsthathisappellatecounselwasineffectiveforfailing to ftleareplybrief
 in the Fourth Circuit,challenging thegovernm ent'sevidence in supportofthe crim inal

 hvelihood enhancem ent.A ppellate counselazgued thatthe disttictcouttshould nothave


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 applied the crim inallivelihood enhancem entin itsoperling briefto theFourth Citcuit.

 Appellatecounselatgued thatlonesmadesignifkantincomefrom hismusiccareerand
 zelaévely little m oney from Jta'g sales,which w otzld rendettheenhancem entinapplicable.

 Open.Briefat47,ECF No.475-4.Jonesasserts,however,thatappellatecounselerred by
 fnilingto challengewhatJonesargueswasafalsestatementmadebythegovernmentin its
 response:thatloneshad spent$200,000on hismusiccareerand thatm oneycamefrom drug
 sales.

          Jonestold llisappellatecounseltoflleazeplybzief.Appellatecounselexplained,
 howeverthatffgilfallwehaveto sayisfthegoveznmentrnissed thepointandmisstated the
 facts,'then thatisnotasufhcientbasisfotfilingareply.77 Exh.5,ECF No.448.Kflq ounsel
 haswidelatitude in decicling how bestto representa client.'' Yarborough v.Gentry,540

 U.S.1,5-6 (2003).Appellatecounsel,in an affidavit,providedthatsheand co-counselffhad
 fazlly setforth ouzargumentsin ou.
                                  ropeningbrief.''Aff.! 16,ECF No.475-5. Although a
 defendantTfm ay flle abriefin reply to theappellee'sbriefy''there isno zeqllitem entthatsuch

 abziefbeflled.Fed.R.App.P.28(c).TheFourth Circuitpossessed theentirerecordofthe
 trialand sentencing aswellastheopening brieffzom appellate counsel. Itconsidezed the

 criminallivelihoodenhancementchallenge,and concluded thatitshould stand.Jones,622
 F.App'xat208.Even assllming thatthe$200,000amountwasincorrect,Jonescannotshow
 thathad thisfactbeen challenged itna reply brief,itwould haveproduced f<aresultm ore

 favorableJ?to Aim .Stricldand,466U.S.at695.Accordingly,Jonescannotshow thathe
 suffezed prejudicesuffkientto sustain anineffecéveassistanceofcounselclnim.
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        B. ProsecutorialM isconduct

        Finally,Jonesarguesthatthegovernm entdeliberatelypzovided falseinform aéon to
 theFourth Circtétin supportofthecrirninallivelihood enhancem ent.Specifcallyylones
 assertsthatthegovernment'sbriefincludedthefalsestatementthatlonesKfadmitted':to
 spending $200,000onhismusiccareer,which frshowedthqtghejderived substantialincome
 from gthejcrackbusiness.'' Resp.BriefEx.2,ECF No.448.Jonesarguesthathenever
 m adethisadrnission.

        Pzosecutorialnnisconductoccurswhen the prosecutor'sstatem entsTfso infected the

 trialwit.h unfairnessasto m ake theresulting conviction a denialofdueprocess.'' United

 Statesv.Scheetz,293 F.3d 175,185(4th Cir.2002).ln orderto obtain relief,adefendant
 mustestablish (1)theprosecutot'sremarkswereimptoper,and (2)thatsuch zemarks
 prejudicially affected thedefendant'ssubstantialrightsresultingin thedeprivaéon ofafait
 trial. ld.

        Jonescan establish neithetelement.Fitst,atsentencing,ll0th thegoveznmentand
 defensediscussed textm essagesonlones'phonethatsuggestedhespent$200,000 on zap-
 related expenses. D efense counselazgued thatthatnum berconsisted ofçfgoals''and that

 there wasno evidence thathe actually possessed orspentthatsum ofm oney. Sent.Hr'g

 Tr.at35-36,ECF No.406. Nonetheless,Jones'phonedidincludethe$200,000fkure.
 Even ifthatnumberwasgrosslyexaggerated,howevei,Jonescannotestablish prejudice.
 Appellate counselatgued to tlae Fourth Circuit,in accordancewith theargum enttrial

 counselm adeatsentencing,thatthègovernm entç'erroneously relied'?on factsto support

 the ctirtninallivelihood enhancem entand explained why the enhancem entshould notapply.
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 Opening Br.at48,ECF N o.475-4. Because appellate counselchallenged thereliabilityof

 thegovernment'sevidence,Jonescannotestablish thathissubstantialrightswereviolatedby
           ):
            .'                                                                            .       @
 thegovernm ent'srelianceon the$200,000 sum in itsresponse.Asaresult,tlnlsclnlm too,
  . ï. '
   Q'
 lazl
    t:'
    ,
      s
      ;m erit Scheetz,293 F.3d at186.
                 .




                                              111.

           Forthereasonsstated,thecotzrtG RAN TS the governm ent'sm oéon to disnniss,

 ECF No.475,andDISM ISSESJones'motion and amended motionstovacate,setasideor
 correcthissentencepursuantto 28U.S.C.j2255,ECF No.448,452,& 464.BecauseJones
 hasfailed to m akea substantialshowing ofthe denialofaconstim tionalrightasrequired by

 28U.S.C.j2253/)and Slackv.McDaniel,529U.S.473,484 (2000),acertificateof
 appealabilityisD EN IE D .

           EN TE R:This /      dayoflanuary,2017.                                         '                  .
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